Case 24-30465-5-wak Doc9Q _ Filed 06/05/24 Entered 06/05/24 16:09:57 Desc Main
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Debtor 1 Thomas William Pritchard

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Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Northern District of New York JUN 0 3 2024
Case number 24-30465 OFFICE OF THE BANKRUPTCY CLERK
(if Known)
Chapter filing under: SYRACUSE, NY

a Chapter 7

Q) Chapter 11

QC) Chapter 12

Q) Chapter 13

Order Approving Payment of Filing Fee in Installments

After considering the Application for Individuals to Pay the Filing Fee in Installments (Official Form 103A), the
court orders that:

[ ] The debtor(s) may pay the filing fee in installments on the terms proposed in the application.

[v] The debtor(s) must pay the filing fee according to the following terms:

You must pay... On or before this date...
84.50 06/17/2024
cecil Month / day / year
$ 84.50 07/08/2024
a Month / day / year
$ 84.50 07/22/2024
TO Month / day / year
+ 84.50 08/05/2024
Month / day / year
Total S 338.00

Until the filing fee is paid in full, the debtor(s) must not make any additional payment or transfer any
additional property to an attorney or to anyone else for services in connection with this case.

06/05/2024 By the court:

Month / day / year United States Bankruptcy Judge

